Case 2:04-cv-02181-.]PI\/|-tmp Document 114 Filed 07/06/05 Page` 1 of 4 Page|D 153

IN TI'IE UNITED STATES DISTRICT COURT _
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL __6 P" la ll 8

 

WESTERN DIVISION

COMMODITY FUTURES TRADING ) Q_%WMM
CoMMIsSION, ) W GF ta term

Plaintiff, §
v. § NO. 04-2181 D/An
FXTRADE FINANCIAL, LLC, et al., §

Defendants. §

ORDER

 

On Iune 15, 2005, the Court granted Plaintiff’s Motion to Compel Discovery.1 ln that
Order, the Court instructed Plaintiff to “file an affidavit listing the fees and expenses related” to
the Motion to Compel. Plaintiff filed its Affidavit with the Court on June 24, 2005, requesting
$400.00 in attorney fees associated with the Motion to Compel.

For good cause shown, it is ORDERED that Defendants Fx'I`rade Financial, LLC; Jeffrey
A. Mischler; Lee N. Romano [[; Mary Jo Sibbitt; Gordon J. Vandeveld; and Reverie LLC shall
pay to Plaintiff the sum of $400.00 incurred in conjunction with Plaintiff’s Motion to Compel.
Defendants shall pay this amount to Plaintiff within 15 days of entry of this Order. Defendants
are reminded that the failure to comply with an Order of the Court can be grounds for the

imposition of sanctions

 

1'I`he Motion to Compel Discovery, located at docket entry 104, requested that the Court require Defendants
to provide initial disclosures or revised initial disclosures

  

1

This document entered on the docket sheet in compl|ance
with Ftu|e 58 and/or 79(3) FFtCP on “’ l

Case 2:04-cv-02181-.]PI\/|-tmp Document 114 Filed 07/06/05 Page 2 of 4 Page|D 154

IT IS SO ORDERED.

<§_//Z_m.¢ @»,J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Q;¢£\ /. 2691_/
U l ’

 

July 11, 2005 to the parties listed

rATéstnsTanT <JURT- Eerkifbl

Notice of Distribution

This notice confirms a copy of the document docketed as number 114 in
case 2:04-CV-02181 Was distributed by faX, mail, or direct printing on

EsSEE

 

.1 oseph J. Cecala
222 Albion
Park Ridge7 IL 60068

Gary A. Vanasek

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Thomas .1. Sjoblom
CHADBOURNE & PARKE LLP
1200 NeW Hampshire Ave.

Ste. 300

Washington, DC 20036

W. Michael Richards

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

Benjamin R. Ogletree
CHADBOURNE & PARKE LLP
1200 NeW Hampshire Ave.

Ste. 300

Washington, DC 20036

Charles D. Marvine

COl\/[MODITY FUTURES TRADING COl\/[MISSION
TWo Emanuel Cleaver 11 Blvd

Ste. 300

Kansas City, 1\/1() 64112

Rachel A. Hayes

COl\/[MODITY FUTURES TRADING COl\/[MISSION
TWo Emanuel Cleaver 11 Blvd

Ste. 300

Kansas City, 1\/1() 64112

Case 2:04-cv-02181-.]PI\/|-tmp Document 114 Filed 07/06/05 Page 4 of 4 Page|D 156

Richard Glaser

1155 2lst Streetm N.W.
Division of Enforcement
Washington, DC 205 81

Mary Jo Sibbitt
21 W. 611 Glen Park Rd
Glen Ellyn7 IL 60137

.1 effrey A. Mischler
8653 Heatherly Cove
Germantown7 TN 3 813 8

Honorable Bernice Donald
US DISTRICT COURT

